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24
                        UNITED STATES DISTRICT COURT
25
26                     CENTRAL DISTRICT OF CALIFORNIA

27
   PINKETTE CLOTHING, INC., a                     Case No. 15-CV-04950-SJO-AJW
28 California corporation,
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           DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION TO EXCLUDE EXPERT
                 TESTIMONY, REPORT, AND OPINIONS OF EXPERT WITNESS DR. LEON KAPLAN
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 1                                                DEFENDANT’S MEMORANDUM IN
                       Plaintiff,                 OPPOSITION TO PLAINTIFF’S
 2                                                MOTION TO EXCLUDE EXPERT
 3                     vs.                        TESTIMONY, REPORT, AND
                                                  OPINIONS OF EXPERT WITNESS
 4 COSMETIC WARRIORS LIMITED,                     DR. LEON KAPLAN
   believed to be a United Kingdom limited
 5 company doing business as LUSH
 6 HANDMADE COSMETICS, and DOES 1- Date: January 24, 2017
   9, inclusive,                           Time: 9:00 a.m.
 7                                         Place: 10C
                 Defendants.
 8
 9                                                Complaint Filed: June 30, 2015
10                                                Trial Date:      January 24, 2017
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           DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION TO EXCLUDE EXPERT
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 1 I.         Introduction.
 2            The Court should allow the testimony of Cosmetic Warriors Limited’s (“CWL”)
 3 consumer survey expert, Dr. Leon B. Kaplan (“Dr. Kaplan”), because it is relevant and
 4 reliable and will aid the trier of fact. Dr. Kaplan’s testimony establishes that the relevant
 5 consuming public is likely to believe, for trademark relevant reasons, that: (1) Plaintiff
 6 Pinkette Clothing, Inc.’s (“Pinkette”) LUSH branded clothing website was from the same
 7 company as CWL’s LUSH website, (2) that the two websites were from companies that
 8 were affiliated or connected, or (3) that Pinkette’s Lush website was approved, endorsed or
   sponsored by CWL’s LUSH brand. Dr. Kaplan is qualified as an expert on the topic of
 9
   consumer perception surveys by virtue of his knowledge, education, and experience.
10
   Pinkette does not suggest otherwise. Rather than conduct its own study, Pinkette merely
11
   criticizes CWL’s consumer study. Pinkette certainly could have conducted its own study.
12
   Moreover, Pinkette’s criticisms are misplaced. Kaplan’s likelihood of confusion survey is
13
   based on the universally accepted Squirtco1 methodology, and his conclusions result from
14
   the reliable application of the Squirtco methodology to the facts of this case. The Court
15
   should deny Pinkette’s motion to exclude Kaplan.
16
   II.     Rule 702 And The Daubert Standard.
17
           The admissibility of expert testimony is governed by Federal Rule of Evidence 702,
18 which explains: a witness who is qualified as an expert by knowledge, skill, experience,
19 training, or education may testify if: (a) the expert’s knowledge will help the trier of fact to
20 understand the evidence or to determine a fact in issue; (b) the testimony is based on
21 sufficient facts or data; (c) the testimony is the product of reliable principles and methods;
22 and (d) the expert reliably applies the principles and methods to the facts of the case. Fed.
23 R. Evid. 702. Under Rule 403, an expert’s testimony may be excluded “if its probative
24 value is substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,
25 misleading the jury, undue delay, wasting time, or needlessly presenting cumulative
26 evidence.” Fed. R. Evid. 403. Doubts concerning whether an expert’s testimony will be
27   1
     Squirtco v. Seven-Up Co., 628 F.2d 1086, 1089 n.4, 1091 (8th Cir. 1980) (assessing
28 likelihood of confusion through survey analysis).
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 1 useful should be resolved in favor of admissibility. In re Flashcom, Inc. v. Communs
 2 Ventures III, LP (In re Flashcom, Inc.), 503 B.R. 99, 124 (C.D. Cal. 2013); see also Loral
 3 Infared & Imaging Sys. v. ERA Helicopters, No. 94-55821, 1997 U.S. App. LEXIS 14850,
 4 at *4 (9th Cir. June 17, 1997).
 5 III. Dr. Kaplan’s Survey Is Admissible Because Dr. Kaplan Is Qualified As An
 6            Expert And Because His Survey Is Based On A Sound Methodology.

 7            CWL retained Dr. Kaplan to commission a study to test whether there is a

 8 measurable level of confusion between Pinkette’s LUSH brand and CWL’s LUSH brand.
   Dr. Kaplan is a highly experienced survey expert and consumer psychologist.
 9
   (Consolidated Decl. of Kevin Bringuel dated Dec. 13, 2016 (“Bringuel Decl.”) Ex. D at
10
   24-29.) In 1979, Dr. Kaplan founded Princeton Research & Consulting Center, Inc., and
11
   he remains President today. (Id. at 24.) Dr. Kaplan has been working as a survey designer
12
   and expert for at least forty-one years. (See id.; Decl. of Heather J. Kliebenstein
13
   (“Kliebenstein Decl.”) Ex. 13 at 10:4-11:4.) His work has never been excluded by a court.
14
   (Decl. of Dr. Leon Kaplan ¶ 4.)
15
          Dr. Kaplan’s proposed testimony is summarized in his expert report entitled “A
16
   Study of the Likelihood of Confusion Between Cosmetic Warriors Ltd. and Pinkette
17
   Clothing Inc.” (the “Kaplan Study”). (Bringuel Decl. Ex. D at 1.) The studied population
18 consisted of women between the ages of 18-35 years old who are likely to use the internet
19 to get information about women’s contemporary clothing in the next year. This population
20 definition is not challenged by Pinkette as it is Pinkette’s targeted adult population. In the
21 study, qualified respondents were first shown the CWL LUSH website
22 (www.lushusa.com). (Id. at 5; Kliebenstein Decl. Ex. 14.) Then, after a series of
23 distracter questions, respondents were shown an array of three website listings they might
24 encounter if they did an online search for women’s clothing: www.roxy.com,
25 www.lushclothing.com and www.lacoste.com. (Bringuel Decl. Ex. D at 5-6.) In the
26 control cell, www.lushclothing.com was replaced with www.luxusclothing.com which was
27 identical in all respects except for substituting Luxus for Lush. (Id. at 6.) Respondents
28 were encouraged to click on links if that was what they normally would do. (Id. at 12-13.)
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 1 Clicking on a link would take the respondent to the homepage for Roxy, Lush Clothing, or
 2 Lacoste (in the control group, a link would lead to Luxus Clothing instead of Lush
 3 Clothing). (Id.; Kliebenstein Decl. Exs. 15-18.)
 4       Respondents were then asked questions relating to source confusion. (Bringuel Decl.
 5 Ex. D at 13-15.) 366 interviews passed quality-control measures, and 183 respondents saw
 6 the test cell (www.lushclothing.com) and 183 respondents saw the control cell
 7 (www.luxusclothing.com). (Id. at 18.) Dr. Kaplan’s study found that “over one in three
 8 (36.7%) were confused into believing that the Lush Clothing website was for the same
     company as the Lush Cosmetics website or the two websites were for companies that were
 9
     affiliated or connected or the Lush Clothing website was approved, endorsed or sponsored
10
     by Lush Cosmetics, for trademark relevant reasons.” (Id. at 3-4.) Some excerpts from
11
     respondents include:
12
         • Same name
13       • It was called lush beauty products if I'm not mistaken I figure both having the
            name lush means same company
14       • They are both called Lush. I would wonder if Lush Clothing is part of Lush
         • The same name but different products
15       • I thought the first home page was luch (sic) cosmetics so i assume they are linked
16          possibly? Thought the names were similar
         • Also related to Lush Cosmetics, same company owns them both.
17       • Both companies are named Lush. It just makes me think they have different
            categories that they sell.
18
     (Id. at 20.) This study, conducted according to accepted principles and standards, is
19
     probative of a likelihood of confusion in this case.
20 IV.        Pinkette’s Cricitisms Of The Kaplan Survey Go To The Weight Of The
21            Evidence Accorded To The Survey, Not Admissibility.
22            “It is notoriously easy for one survey expert to appear to tear apart the methodology
23 of a survey taken by another.” 6 McCarthy on Trademarks and Unfair Competition §
24 32:178 (4th ed.). As a result, technical deficiencies in survey methodology go to the
25 weight of the evidence accorded to the survey, not to the survey’s admissibility. Fortune
26 Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgmt., 618 F.3d 1025, 1036 (9th Cir.
27 2010) (methodology bears on weight not admissibility); Clicks Billiards, Inc. v.
28 Sixshooters, Inc., 251 F.3d 1252, 1262-63 (9th Cir. 2001) (issues of methodology and
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           DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION TO EXCLUDE EXPERT
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 1 survey design go to the weight not admissibility); Southland Sod Farms v. Stover Seed Co.,
 2 108 F.3d 1134, 1143 & n.8 (9th Cir. 1997) (same); McCarthy at §§ 32:158, 32:178. Here,
 3 Pinkette’s only objection stems from Dr. Kaplan’s methodology and survey design, issues
 4 that go to the weight of his survey not admissibility. Pinkette’s objections do not support
 5 exclusion and are, at best, proper subjects for cross examination.
 6            A.       Online Surveys Are Commonly Accepted.

 7            Underlying Pinkette’s criticisms is the online nature of the Kaplan Study. But

 8 online surveys are a commonly-accepted way to survey consumers and evaluate likelihood
   of confusion. E.g., Fortune Dynamic, Inc., 618 F.3d at 1037-38 (district court erred in
 9
   excluding internet survey because flaws in survey, including fact it was conducted over
10
   internet thereby failing to replicate real world conditions, went to weight); His & Her
11
   Corp. v. Shake-N-Go Fashion, Inc., No. 2:11-cv-05323, 2015 U.S. Dist. LEXIS 44874, at
12
   *12-13 (C.D. Cal. March 30, 2015) (admitting internet survey and finding methodology
13
   critiques went to weight); Active Sports Lifestyle USA LLC v. Old Navy, LLC, No. 12-
14
   00572, 2013 U.S. Dist. LEXIS 190005, at *39, 48 (admitting internet survey); Bach v.
15
   Forever Living Prods. U.S., Inc., 473 F. Supp. 2d 1110, 1115-16 (W.D. Wash. 2007)
16
   (same); McCarthy § 32.165.25. The online format of the Kaplan Study is appropriate
17
   given the prevalence of the internet today. An online survey is particularly appropriate in
18 this case because both parties market to their customers online, at www.lush.com,
19 www.lushusa.com and www.lushclothing.com, respectively.
20      B.    Dr. Kaplan’s Selection Of The Squirtco Methodology Is Appropriate.
21            In general, there are two court-endorsed survey formats: the Eveready format and
22 the Squirtco format. With the Eveready format, a respondent is shown an exemplar of the
23 defendant’s branded product, and then asked “who makes or puts this out”, followed by
24 “why do you say that?” Jerre B. Swan, Likelihood of Confusion Studies and the Straitened
25 Scope of Squirt, 98 TMR 739 (2008), at Part II(A). With the Squirtco format, the
26 respondents are shown both allegedly conflicting marks and asked whether goods bearing
27 the two conflicting marks came from the same or different sources.            McCarthy §
28 32.173.50.
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 1            Here, Kaplan selected the Squirtco methodology because in Kaplan’s opinion it
 2 mirrored the online marketplace and because the Eveready design was not appropriate for
 3 a brand that was not top of mind. (Bringuel Decl. Ex. D at 6; Kliebenstein Decl. Ex. 13 at
 4 61:6-24.)
 5       The Eveready method is often recommended for use with strong, top of mind
 6 trademarks (i.e., trademarks with high unaided awareness). Swan, Likelihood of Confusion
 7 Studies and the Straitened Scope of Squirt, at Part I. This is because the Eveready survey
 8 does not show respondents the senior mark—the respondent must be able to recall it
   internally within their memory. Pinkette’s rebuttal expert, Dr. Bruce Isaacson (“Dr.
 9
   Isaacson”), agreed. (Bringuel Decl. Ex. F at ¶ 36 (“Eveready format is typically used on
10
   strong brands, meaning brands that have top-of-mind awareness.”).)
11
          The danger in using the Eveready design with marks that are not top of mind among
12
   all consumers is that such a study would underestimate the likelihood of confusion.
13
   Confusion is underreported because respondents may not have the senior user’s mark top
14
   of mind, like Revlon or Cover Girl, but may well become confused when reminded of the
15
   brand or when seeing the parties’ marks in real life. See Swan, Likelihood of Confusion
16
   Studies and the Straitened Scope of Squirt, at Part III (“The internal search of memory for a
17
   strong brand’s schema that exists at the core of an Eveready study is thus hostile to the
18 general run of marks.”).
19            Pinkette argues that because CWL contends its LUSH mark is strong, the Kaplan
20 Study should be an Eveready design. However, just because LUSH is strong does not
21 mean it is yet top of mind (although that is what CWL aspires for LUSH to be). Very, very
22 few brands are “top of mind” brands, with high unaided awareness. Examples of such top
23 of mind marks are Apple, Coke, and Nike. As CWL’s marketing expert, Dr.
24 Joachimsthaler testified, “[V]ery few brands obtain top of mind” and although “many
25 brands don’t obtain top-of-mind awareness, they’re still strong brands.” (Kliebenstein
26 Decl. Ex. 12 at 117:19-118:10.) Contrary to Pinkette’s position, a mark like LUSH can be
27 strong yet not an appropriate candidate for an Eveready study. See, e.g., Roederer v. J.
28 Garcia Carrion, S.A., 732 F. Supp. 2d 836, 868, 876 (D. Minn. 2010) (finding Dr.
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 1 Kaplan’s use of Squirtco style survey appropriate despite finding the senior mark
 2 CRISTAL for champagne to be strong); see also Swan, Likelihood of Confusion Studies
 3 and the Straitened Scope of Squirt, at Part III (“Comparatively few have (or can hope to
 4 develop) sufficiently strong memory traces so as to be cued by pattern matching
 5 engendered by a monadic exposure to a similar junior use.”). In this case, use of the
 6 Squirtco method is proper, and Dr. Kaplan’s testimony should be allowed.
 7        C.    The Parties’ Products Are Proximate.

 8            Pinkette argues that Dr. Kaplan’s survey is improper because the parties’ LUSH
     products are not proximate in the brick and mortar marketplace and that Dr. Kaplan offered
 9
     no evidence that the parties’ goods were “proximate in the real world,” presumably limited
10
     to brick and mortar shops. (Pinkette Br. (filed under seal) at 4.) Pinkette ignores the design
11
     of the Kaplan Study and evidence showing the requisite online proximity. As stated in the
12
     Kaplan Study, “the Squirt design requires that the plaintiff’s and the defendant’s products
13
     be proximate to each other, either spatially or temporally.” (Bringuel Decl. Ex. D at 7.)
14
     Here, the evidence shows the parties’ marks are proximate to each other, spatially and
15
     temporally, both in the online world and in the brick and mortar world.
16
              Both parties operate websites and sell products online. Pinkette’s contention that
17
     Pinkette does not sell clothes on the internet is not true. (Pinkette Br. at 4.) The attached
18 internet printouts show LUSH clothing for sale on franchescas.com and Nordstrom.com.
19 (Kliebenstein Decl. Exs. 20-21.) Pinkette’s Lush Clothing Facebook page advertises its
20 clothing for sale and provides links. Its November 28 and December 13 posts display a
21 “cyber week” sale and clothing for sale on lulu.com:
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 1 The parties’ products and marks coexist on the same Google and Amazon.com search
 2 pages, showing they are a mere click away from one another. (Id. at Exs. 22-24; see also
 3 id. at Ex. 13 at 71:18-72:17; Bringuel Decl. Ex. D at 7 (“Search engines, like Google,
 4 allow marks that are not found on the same website to appear together on the same page as
 5 the result of a search”).)
 6            The Kaplan Study mirrors this marketplace by evaluating confusion between the

 7 Lush Clothing website and the Lush Cosmetics website for trademark reasons. (Bringuel
 8 Decl. Ex. D at 3-4; Kliebenstein Decl. Ex. 13 at 68:21-69:18.) The Kaplan Study
     replicated the online marketplace and showed respondents links to, among others, CWL’s
 9
     LUSH website and LUSH Clothing’s website and allowed the respondents to click those
10
     links and view static screen captures of the relevant website. This design mimicked the
11
     real world online shopping experience in which buyers can choose to click (or not click)
12
     any number of links and can choose to spend as much (or as little time) assessing a website
13
     as they want.
14
              Although the Kaplan Study focused on the online world, the evidence also shows
15
     the parties’ marks are proximate in the brick and mortar world. Pinkette admits CWL’s and
16
     Pinkette’s products are sold within the same shopping malls and/or shopping districts.
17
     (Pinkette Br. at 4.) This coexistence establishes proximity. See Fortune Dynamic, Inc. 618
18 F.3d at 1036-38 (proximity found in online survey even where “Delicious” tank tops were
19 not sold side-by-side or presumably in the same store as DELICIOUS shoes); Active
20 Sports Lifestyle USA LLC, 2013 U.S. Dist. LEXIS 190005, at *40-44 (where products
21 were not sold side-by-side in marketplace, court found Squirt method admissible because
22 criticism went to weight and noting “consumers are free to roam the on-line and brick-and-
23 mortar marketplace”); On Site Energy Co. v. MTU Onsite Energy Corp., No. 10-CV-1671,
24 2012 U.S. Dist. LEXIS 100690, at *8 (E.D.N.Y. July 19, 2012) (finding Squirtco survey
25 admissible despite objection to proximity because there was evidence that allegedly
26 infringing marks were in close proximity on a Google search results page and noting the
27
28
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 1 proximity criticism can be raised on cross examination).2 Pinkette has no legal authority to
 2 the contrary, and its motion should be denied.
 3 V.         Dr. Kaplan’s Testimony Will Assist The Fact Finder Without Prejudice To
 4            Pinkette.
 5            Pinkette chose not to conduct its own consumer survey. Arguing prejudice because
 6 CWL did conduct a consumer survey is improper. The jury can decide for itself whether
 7 Pinkette’s weak criticisms carry any weight, and Pinkette has its own rebuttal expert, Dr.
 8 Bruce Isaacson, to respond to the study, albeit with no study of his own. Pinkette has not
   pointed to—and cannot point to—any specific prejudice that will result from the admission
 9
   of the Kaplan Study. There is no risk of jury confusion or prejudice to Pinkette. CWL, on
10
   the other hand, would be significantly prejudiced should the Kaplan Study be withheld
11
   from the jury. It was conducted pursuant to the proper principles and methodology by a
12
   well known, experienced survey expert. CWL has the burden of proof to demonstrate a
13
   likelihood of confusion in this case, and the Kaplan Study is an important piece of
14
   evidence.
15
   ///
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   ///
17
   ///
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19 ///
20 ///
21 ///
22 ///
23   2
       The fifteen year old Simon Property Group L.P. case, cited by Pinkette, does not
24   support a different conclusion. (Pinkette Br. at 9.) In Simon, the Court found that
     presenting a card depicting images of two website home pages to shoppers in a mall
25   distorted the marketplace experience because it removed other links encountered when
     searching on the internet and removed additional descriptive information shown
26   alongside the links. Simon Prop. Group L.P. v. mySimon, Inc., 104 F. Supp. 2d 1033,
     1041, 1044 (S.D. Ind. 2000). The Kaplan Study, on the other hand, was an online
27   survey that included three other clothing related links aimed at mimicking an online
     shopping experience and included the real-world descriptions associated with each link.
28   (Bringuel Decl. Ex. D at 12-13.)
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1 VI.         Conclusion.
2             For the foregoing reasons, CWL has met its burden to establish the admissibility of
3 Dr. Kaplan’s testimony and Pinkette’s motion should be denied.
4
5 DATED: December 23, 2016                         Respectfully submitted,
6
                                                   /s/ Deborah A. Gubernick
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